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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

    JASON GOLDSTEIN, BRAD DAVIS,                        Case No. 3:22-cv-00164-AWT
    MARIA LAZO, MOSANTHONY WILSON
    and JAMES CORSEY on behalf of
    themselves and all others similarly situated,

                                  Plaintiffs,

           v.

    HENKEL CORPORATION and THRIVING
    BRANDS LLC,


                                  Defendants.

                                   NOTICE OF SETTLEMENT

         Plaintiffs Jason Goldstein, Brad Davis, Maria Lazo, Mosanthony Wilson, and James

Corsey (collectively “Plaintiffs” or “Class Representatives”) and Defendants Henkel Corporation

(“Henkel”) and Thriving Brands LLC (“Thriving Brands”) jointly notify this Court that they have

reached an agreement in principle to settle the claims asserted in Plaintiffs’ consolidated class

action complaint against defendants on a nationwide, class – wide basis. The intention of the

settlement is that, if the settlement is approved by this Court, the settlement will resolve all of the

claims in all of the actions pending in this Court and any other court in the United States. 1

         Counsel for the parties are working on drafting and executing a comprehensive settlement

agreement. In addition, counsel for the parties intend to discuss the next steps in the settlement

process and prepare and submit a schedule to the Court no later than January 16, 2023.




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    Soldevilla v. Thriving Brands, LLC, Case No. 3:22-cv-1362-OAW (D.Conn.).
                                                    1
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Dated: December 12, 2022          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I, James J. Reardon, Jr., Interim Liaison Counsel for Plaintiffs, hereby certify that on

December 12, 2022 the foregoing Notice of Settlement was electronically filed with the Clerk of

Court using the CM/ECF filing system and provided to all counsel of record by CM/ECF

notification.


Dated: December 12, 2022                                   /s/ James J. Reardon
                                                           James J. Reardon Jr.




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